Case 18-55697-lrc        Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47          Desc Main
                                    Document     Page 1 of 20


                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

   IN RE:                              *
                                       *
   CASSANDRA JOHNSON LANDRY.           *                 Chapter 7
                                       *                 Case No. 18-55697-lrc
                           Debtor,     *                 Judge Lisa Ritchey Craig
   ____________________________________*
   GEORGIA DEPARTMENT OF               *
   COMMUNITY HEALTH,                   *
                                       *                 Adv. No. ____________________
                           Plaintiff,  *
   v.                                  *
                                       *
   CASSANDRA JOHNSON LANDRY,           *
                                       *
                           Defendant.  *


                  COMPLAINT TO DETERMINE DISCHARGEABILITY
                 OF DEBT UNDER 11 U.S.C. § 523(a) AND FOR JUDGMENT

              COMES NOW, the Georgia Department of Community Health, (“the

   Department”), in the above-styled case, by and through counsel, Christopher M. Carr,

   Attorney General of the State of Georgia, objects to the discharge of the debt owed by

   Cassandra Johnson Landry, (“Defendant-Debtor”), pursuant to 11 U.S.C. § 523(a) and

   Fed. R. Bankr. P. 7001(6), and shows the Court as follows:


                                        JURISDICTION

                                                1.

              Pursuant to 28 U.S.C. § 157 and 28 U.S.C. § 1334, this Court has jurisdiction to

   determine the rights of the parties as to a determination of dischargeability of Defendant-

   Debtor’s debt under 11 U.S.C. § 523(a).




   #1069369
Case 18-55697-lrc      Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47            Desc Main
                                   Document     Page 2 of 20


                                                 2.

            Venue is property as provided by 28 U.S.C. 1409(a).

                                                 3.

            This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (I), and (O).

                                                 4.

            This is an action pursuant to 11 U.S.C. § 523(a)(2)(A) and § 523(a)(2)(B), as

   provided by Fed. R. Bankr. P. 4007(a) and (b), and Fed. R. Bankr. P. 7001(6).

                                  GENERAL ALLEGATIONS

                                                 5.

            The Department incorporates ¶¶ 1- 4 by reference as if fully restated.

                                                 6.

            Defendant-Debtor’s bankruptcy address of record shows she is a resident of

   Gwinnett County with an address of 869 Natchez Valley Trace, Grayson, Georgia,

   30017.

                                                 7.

            Defendant-Debtor, acting Pro Se, filed a Chapter 13 petition on April 3, 2018,

   (Case No. 18-55697-lrc). Defendant-Debtor requested that her case be converted to a

   Chapter 7. [Notice of Conversion, d.e. # 72]. Defendant-Debtor’s bankruptcy case was

   converted to a Chapter 7 case on September 14, 2018.            The Defendant-Debtor has

   continued to represent herself throughout this bankruptcy case.

                                                 8.

            Defendant-Debtor filed her Bankruptcy Schedules on April 3, 2018, and

   attempted to schedule the Department as a creditor. It appears that Defendant-Debtor




                                                 2
Case 18-55697-lrc       Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47                Desc Main
                                    Document     Page 3 of 20


   attempted to schedule the Department with notice to the Georgia Department of

   Behavioral Health, Two Peachtree St. NW, 24th Floor, Atlanta, GA, 30303.

                                                  9.

             The deadline for creditors seeking a determination for the dischargeability of a

   debt in this Chapter 7 case is December 17, 2018.

                                                  10.

             On September 19, 2018, the Department filed a proof of claim, (“Claim # 20-1”),

   showing a debt of $42,634.37 for overpayment of Medicaid claims.

                                                  11.

             “Overpayment” means a payment to a provider that includes a payment “for a

   service for which reimbursement is not available under the State [Medicaid] Plan or other

   policy of the Division.” See Medicaid Manual,1 Part 1, Section entitled “Definitions,”

   No. 56.

                                                  12.

             The Department’s Claim #20-1 is prima facie correct. In re Richardson, 2007

   Bankr. LEXIS 5054 (Bankr. S.D. Ga. June 21, 2007). In re Nejedlo, 324 B.R. 697, 699

   (Bankr. E.D. Wis. 2005).

                                                  13.

             The Department’s Claim #20-1 is allowed as-filed unless or until entry of an order

   to the contrary.




   1
    Georgia Medicaid Manuals can be found at
   https://www.mmis.georgia.gov/portal/PubAccess.Provider%20Information/Provider%20Manuals/tabId/54/
   Default.aspx



                                                   3
Case 18-55697-lrc        Doc 119      Filed 12/17/18 Entered 12/17/18 16:39:47                     Desc Main
                                      Document     Page 4 of 20


                                                     14.

           The Department is an agency2 of the State of Georgia and, among other things, is

   responsible for administering the Medicaid Program in the State of Georgia. O.C.G.A. §

   31-5A-4.

                                                     15.

           The Department is charged with the administration and supervision of the Georgia

   Medicaid Plan in accordance with the requirements of Title XIX of the Social Security

   Act of 1935, as amended, and O.C.G.A. § 49-4-1 et seq. See 42 C.F.R. § 431.10(e); and

   O.C.G.A. § 49-2-11(f).

                                                     16.

           The Department is authorized to establish such rules and regulations as may be

   necessary or desirable to execute the State Medicaid Plan and to enter into such

   reciprocal and cooperative arrangements with other states, persons, and institutions,

   public and private, as it may deem necessary or desirable in order to execute the State

   Medicaid Plan. Ga. Comp. R. & Regs. R. 350-1-.02 (2016).

                                                     17.

           Medicaid provides medical assistance to certain individuals with low income and

   resources. See Medicaid Manual, Part 1, Chapter 100, Section 101.

                                                     18.

           The Department is tasked with, among other things, overseeing the integrity of the

   Medicaid Program, including the appropriateness of payments.



   2
     There are four health care agencies serving Georgia. They are: the Department of Community Health, the
   Department of Behavioral Health and Developmental Disabilities, the Department of Human Services, and
   the Department of Public Health.


                                                      4
Case 18-55697-lrc     Doc 119   Filed 12/17/18 Entered 12/17/18 16:39:47         Desc Main
                                Document     Page 5 of 20


                                               19.

          The Department pays enrolled providers within numerous reimbursable categories

   for covered services furnished to eligible members.    See Medicaid Manual, Part 1,

   Chapter 100, Section 104.

                                               20.

          In order to receive reimbursement through the Medicaid Program, a provider must

   be enrolled with the Department in an appropriate service category.     See Medicaid

   Manual, Part 1, Chapter 100, Section 105.

                                               21.

          A provider may enroll in the Medicaid Program by submitting an application to

   the Department. Id.

                                               22.

          Approval of the application is contingent upon verification of a provider’s

   compliance with all policy requirements and may include a site audit of the provider’s

   place of business. Id.

                                               23.

          The Department does not enroll group practices in the fee for service program.

   Id.

                                               24.

          Each provider must enroll at each location where services are provided to

   Medicaid members. Id.




                                               5
Case 18-55697-lrc    Doc 119      Filed 12/17/18 Entered 12/17/18 16:39:47        Desc Main
                                  Document     Page 6 of 20


                                                25.

          Alliance for Change Through Treatment, LLC, (“ACTT”), submitted an

   Enrollment Application, (“Application”), to the Department on or about January 1, 2013.

   See Exhibit A attached hereto.

                                                26.

          Pursuant to the Application, Cassandra Johnson-Landry, Defendant-Debtor, is a

   50% owner of ACTT, along with her partner, Jeffrey E. Atkinson, who is the other 50%

   owner of ACTT. Id. at pg. 4.

                                                27.

          Pursuant to the Application, Defendant-Debtor’s title and role in ACTT was as

   CEO and Managing Partner.

                                                28.

          ACTT is a limited liability company that has been registered with the Georgia

   Secretary of State since January 10, 2006. See Exhibit B attached hereto.

                                                29.

          ACTT filed Amended Articles of Organization, (“Articles”), with the Georgia

   Secretary of State on August 16, 2007. Id.

                                                30.

          The Articles show that the management of ACTT is vested in Defendant-Debtor,

   Cassandra Johnson-Landry, and Jeffrey Eugene Atkinson. Id.

                                                31.

          ACTT entered into a contract with the Department called a Statement of

   Participation, also known as a Provider Agreement, whereby Defendant-Debtor enrolled




                                                6
Case 18-55697-lrc      Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47        Desc Main
                                   Document     Page 7 of 20


   in the Georgia Medicaid Program in order to render covered services to eligible Medicaid

   recipients under certain categories of service, and sought reimbursement for rendering

   such services. See Exhibit C attached hereto.

                                                  32.

             In 2004, Defendant-Debtor became an eligible provider enabling her to provide

   medical services to members under the Georgia Medicaid Program.

                                                  33.

             Since 2004, Defendant-Debtor has participated as a provider in the Georgia

   Medicaid Community Behavioral Health and Rehabilitation Services program through

   Medicaid Provider number xxxxxx294A.

                                                  34.

             Since 2004, Defendant-Debtor also participated as a provider in the Community

   Based Alternatives for Youth program through Medicaid Provider number xxxxxx294B.

                                                  35.

             Providers under the Georgia Medicaid Program are required to renew their

   Provider Enrollment Application and Statement of Participation contract with the

   Department annually, or as required by Georgia or Federal law, rule, regulation, or

   policy.

                                                  36.

             Defendant-Debtor subsequently renewed her Provider Enrollment Application

   and Statement of Participation with the Department annually, or as required by Georgia

   or Federal law, rule, regulation, or policy.




                                                  7
Case 18-55697-lrc    Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47          Desc Main
                                Document     Page 8 of 20


                                            37.

          On January 25, 2015, the Department terminated ACTT from participating as a

   provider in the Georgia Medicaid Community Behavioral Health and Rehabilitation

   Services program through Medicaid Provider number xxxxxx294A.

                                            38.

          On January 25, 2015, the Department also terminated ACTT from participating as

   a provider in the Community Based Alternatives for Youth program through Medicaid

   Provider number xxxxxx294B.

                                            39.

          ACTT appealed and requested a hearing of the Department’s decisions to

   terminate ACTT from participation as an approved Behavioral Health provider in the

   Georgia Medicaid Community Behavioral Health and Rehabilitation Services program

   providing Children and Adolescent Core and Intensive Family Intervention Services

   through Medicaid Provider Number xxxxxx294A; and as a provider in the Community

   Based Alternatives for Youth Services program through Medicaid Provider Number

   xxxxxx294B.

                                            40.

          On June 21-23, 2016, an administrative hearing was held before an administrative

   law judge.    The Department was represented by Counsel.        Defendant-Debtor was

   represented by Counsel.

                                            41.

          On August 3, 2017, the Administrative Law Judge, Richard L. Greene, entered an

   18 page Notice of Final Administrative Decision and Notice of Right to Appeal,




                                             8
Case 18-55697-lrc      Doc 119      Filed 12/17/18 Entered 12/17/18 16:39:47                Desc Main
                                    Document     Page 9 of 20


   (“Administrative Decision”), affirming the Department’s decision terminating ACTT’s

   Statement of Participation and its two Medicaid Provider Enrollment numbers. See

   Exhibit D attached hereto. The effect of the Administrative Decision was that ACTT

   was terminated from participating as a provider in Georgia’s Medicaid Program.

                                                  42

           ACTT did not appeal the Administrative Decision. Therefore, the Administrative

   Decision became final thirty days later, on or about September 4, 2017. O.C.G.A. §§ 49-

   4-153 and 50-13-19.

                                                  43.

           While acting as a provider in Georgia’s Medicaid Program, as a condition of her

   contract with the Department, Defendant-Debtor was and remains responsible for

   compliance with all State and Federal Medicaid rules, regulations, laws, policies, and

   procedures.

                                                  44.

           Defendant-Debtor, as a Georgia Medicaid Provider, agreed to comply with all of

   the Department’s requirements applicable to the categories of service in which she would

   participate under the Statement of Participation, and with any and all state and federal

   manuals, including Part I, Part II, and the applicable portions of Part III of the Georgia

   Medicaid Manuals,3 and with any amendments thereto. See Exhibit C, Section 2 entitled

   “Provider’s Obligations,” Sub-Section A.




   3
    Georgia Medicaid Manuals can be found at
   https://www.mmis.georgia.gov/portal/PubAccess.Provider%20Information/Provider%20Manuals/tabId/54/
   Default.aspx


                                                   9
Case 18-55697-lrc      Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47          Desc Main
                                 Document      Page 10 of 20


                                                45.

          Defendant-Debtor agreed that the Statement of Participation, together with the

   Department’s Policies and Procedures manuals, any program specific manuals, all

   enrollment documents, and any amendments thereto, would constitute the entire

   agreement between the Parties with respect to the subject matter contained therein. See

   Exhibit C, Section 4 entitled “General Provision,” Sub-Section K.

                                                46.

           The Department does not enroll group practices in the fee for service program.

   Each Provider must enroll at each location where services are provided to

   Medicaid/PeachCare for Kids members. See Medicaid Manual, Part I, Chapter 100,

   Section 105.1(A),

                                                47.

          A “provider” means any individual or entity furnishing Medicaid services

   pursuant to a Statement of Participation (provider agreement) with the Department. See

   Medicaid Manual, Part I, Section entitled “Definitions,” No. 65.

                                                48.

          Defendant-Debtor, while enrolled in the Georgia Medicaid Program, was

   considered a provider.

                                                49.

          According to the Georgia Medicaid Manual, an “owner (ownership interest)”

   means a person or corporation with an [interest] or control interest that:

      a. Has an ownership interest totaling 5 percent or more in a disclosing entity;
      b. Has an indirect ownership interest equal to 5 percent or more in a
         disclosing entity;




                                                10
Case 18-55697-lrc     Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47             Desc Main
                                 Document      Page 11 of 20


      c. Has a combination of direct and indirect ownership interests equal to 5
         percent or more in a disclosing entity;
      d. Owns an interest of 5 percent or more in any mortgage, deed of trust, note,
         or other obligation secured by the disclosing entity if that interest equals at
         least 5 percent of the value of the property or assets of the disclosing
         entity;
      e. Is an officer or director of a disclosing entity that is organized as a
         corporation; or
      f. Is a partner in a disclosing entity that is organized as a partnership.

                                               50.

      Defendant-Debtor, while enrolled in the Georgia Medicaid Program, was considered

   an owner of ACTT as she fell within the definition of “owner.”

                                               51.

          Pursuant to Part I, Chapter 100, Section 106(L), of Georgia’s Medicaid Manual,

   as a general condition of participation, all enrolled providers must:

          “accept responsibility for every claim submitted to the Division that bears
          the provider’s name or Medicaid/PeachCare for Kids provider number.
          Submission of a claim by a provider or his agent, acceptance of a
          Remittance Advice, or acceptance of claim payments constitutes
          verification that the services were performed by that provider (or under his
          direct supervision, if allowed by the Division) and that the provider
          authorized submission of the claim for reimbursement. Remittance
          Advices shall be deemed accepted if the provider does not notify the
          Division or its third party administrator to the contrary in writing within
          ninety (90) days after their issuance. Payments shall be deemed accepted
          when cashed, negotiated, or deposited, including those payments
          deposited electronically.”

                                               52.

          Providers are personally responsible for every claim they submit to the

   Department.

                                               53.

          Defendant-Debtor is personally responsible for every claim that she, her agent,

   her company, including ACTT, submitted to the Department.



                                                11
Case 18-55697-lrc      Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47        Desc Main
                                 Document      Page 12 of 20


                                             54.

          Defendant-Debtor submitted claims to the Department for payment totaling at

   least $42,634.37.

                                             55.

          Pursuant to Part I, Chapter 100, Section 106(M), of Georgia’s Medicaid Manual,

   as a general condition of participation, all enrolled providers must, “refund any

   overpayments to the Division within required timeframes.”

                                             56.

          Providers are personally responsible for returning any overpayment received to

   the Department.

                                             57.

          Defendant-Debtor is personally responsible for returning to the Department any

   overpayments she, her agent, her company, including ACTT, received from the

   Department.

                                             58.

          Defendant-Debtor received overpayments totaling at least $42,634.37.        See

   Exhibit E attached hereto.

                                             59.

          Defendant-Debtor is personally responsible for returning at least $42,634.37 in

   overpayments to the Department.

                                             60.

          Overpayment determinations are appealable within 30 days of the date of the

   denial of claim payment. See Medicaid Manual, Part I, Chapter 500, Section 502(A), ¶ 3.




                                             12
Case 18-55697-lrc      Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47                 Desc Main
                                  Document      Page 13 of 20


                                                61.

          Failure to appeal, or appeal timely, constitutes a waiver of any and all future

   appeal rights, including the right to an administrative hearing. See Medicaid Manual,

   Part I, Chapter 505, Section 502(A), ¶ 3.

                                                62.

          Defendant-Debtor did not appeal the overpayment determinations totaling at least

   $42,634.37. Therefore, the overpayments determinations totaling at least $42,634.37 are

   final, and must be refunded to the Department. Overpayments can be refunded by

   providers via lump sum payment to the Department or the Department can recoup the

   overpayments from future Medicaid payments made to providers.

                                                63.

          This Court should give preclusive effect to the Department’s overpayment

   determination.

                              COUNT I: 11 U.S.C. § 523(A)(2)(A)

                                            64.
          The Department incorporates by reference ¶¶ 1-63 as if fully restated.

                                                65.

          Pursuant to 11 U.S.C. § 523(a)(3)(B), the Department may obtain a determination

   of dischargeability regarding a kind of debt specified in § 523(a)(2)(A). Fed. R. Bankr.

   P. 4007(b).

                                                66.

          Section 523(a)(2)(A) excepts from discharge any debt for money, property,

   services, or refinancing of credit, to the extent obtained by false pretenses, a false




                                                 13
Case 18-55697-lrc      Doc 119       Filed 12/17/18 Entered 12/17/18 16:39:47          Desc Main
                                    Document      Page 14 of 20


   representation, or actual fraud, other than a statement respecting the debtor’s or an

   insider’s financial condition.

                                       FALSE PRETENSES

                                               67.

          “False pretense” involves implied misrepresentation or conduct intended to create

   and foster a false impression. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr. D. Neb.,

   March 20, 2009).

                                               68.

          Defendant-Debtor’s submission of false claims amounted to false pretenses.

                                    FALSE REPRESENTATION

                                               69.

          A “misrepresentation” is not only words spoken or written, but also any other

   conduct that amounts to an assertion not in accordance with the truth. In re Palermo,

   2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                               70.

          Defendant-Debtor’s submission of false claims amounted to misrepresentation.

                                            FRAUD

                                               71.

          To establish fraud within the context of 523(a)(2)(A), a creditor has the burden of

   proving, by a preponderance of the evidence, the following: “(1) a representation of fact

   by the debtor, (2) that was material, (3) that the debtor knew at the time to be false, (4)

   that the debtor made with the intention of deceiving the creditor, (5) upon which the

   creditor relied, (6) that the creditor’s reliance was justifiable, and (7) that damage




                                                14
Case 18-55697-lrc     Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47           Desc Main
                                Document      Page 15 of 20


   proximately resulted from the misrepresentation.” See In re Dixon, 525 B.R. 827, 840

   (N.D. Ga. 2015), [quoting In re Holmes, 414 B.R. 115, 130 (E.D. Mich. 2009)].

                                             72.

          Defendant-Debtor’s submission of false claims amounted to actual fraud.

                                    REPRESENTATION

                                             73.

          A “claim” includes any request or demand, made orally, in writing, electronically,

   or magnetically, for money which is made to the Georgia Medicaid program.

                                             74.

          The Medicaid claims submitted by Defendant-Debtor were written representations

   that Defendant-Debtor had provided the services for which she sought compensation.

                                             75.

          Defendant-Debtor made representations to the Department by the submission of

   claims for payment.

                                      FALSE CLAIMS

                                             76.

          False or fraudulent Medicaid claims include, any person who “knowingly presents

   or causes to be presented to the Georgia Medicaid program a false or fraudulent claim for

   payment or approval.” O.C.G.A. § 49-4-168.1(a)(1).

                                             77.

          Defendant-Debtor made false representations to the Department by submission of

   false claims for payment.




                                              15
Case 18-55697-lrc     Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47             Desc Main
                                 Document      Page 16 of 20


                                          MATERIAL

                                               78.

          “Material” means having a natural tendency to influence, or be capable of

   influencing, the payment or receipt of money or property. O.C.G.A. § 49-4-168(3).

                                               79.

          Defendant-Debtor’s knowing submission of false claims to the Department for

   payment was material.

                                        KNOWLEDGE

                                               80.

          “Knowing” and “knowingly” requires no proof of specific intent to defraud and

   means that a person, with respect to information: “(A) has actual knowledge of the

   information; (B) acts in deliberate ignorance of the truth or falsity of the information; or

   (C) acts in reckless disregard of the truth or falsity of the information.” O.C.G.A. § 49-

   4-168(2).

                                               81.

          Defendant-Debtor knew the information in the claims was false when she

   submitted them.

                                               82.

          Defendant-Debtor knowingly submitted false claims for payment to the

   Department.




                                               16
Case 18-55697-lrc     Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47            Desc Main
                                 Document      Page 17 of 20


                                           INTENT

                                              83.

          The “intent” element merely requires an intent to induce a creditor to rely and act

   on the misrepresentation(s) in question. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr.

   D. Neb. 2009).

                                              84.

          Creditor may present evidence of the surrounding circumstances from which

   intent may be inferred. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                              85.

          “Intent to deceive can be inferred when the debtor makes a false representation

   and knows or should know that the statement will induce another to act.” In re Palermo,

   2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                              86.

          Intention to deceive a creditor must exist at the time of the misrepresentation, and

   be actual, not implied, though gross recklessness may be sufficient. See In re Dixon, 525

   B.R. 827, 840 (N.D. Ga. 2015), [quoting In re Holmes, 414 B.R. 115, 130 (E.D. Mich.

   2009)]. “Courts should look to the totality of the circumstances to determine intent.” Id.

                                              87.

          Defendant-Debtor’s knowing submission of false claims to the Department for

   payment was intentional.




                                               17
Case 18-55697-lrc      Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47           Desc Main
                                 Document      Page 18 of 20


                                  JUSTIFIABLE RELIANCE

                                               88.

            The Department relied on the veracity of each claim submitted by Defendant-

   Debtor

                                               89.

            The Department had no reason to believe that the claims being submitted by

   Defendant-Debtor were false claims.

                                               90.

            The Department’s reliance was justified.

                                               91.

            The Department justifiably relied on Defendant-Debtor’s representation that each

   claim submitted was accurate, and that is was not a false claim.

                                         OBLIGATION

                                               92.

            “Obligation” means an established duty, whether or not fixed, arising from an

   express or implied contractual, grantor-grantee, or licensor-licensee relationship, from a

   fee based or similar relationship, from statute or regulation, or from retention of any

   overpayment. O.C.G.A. § 49-4-168(4).

                                               93.

            Defendant-Debtor had a duty from retention of any overpayment.

                                               94.

            Defendant-Debtor had an obligation to refund overpayment of claims.




                                               18
Case 18-55697-lrc     Doc 119     Filed 12/17/18 Entered 12/17/18 16:39:47        Desc Main
                                 Document      Page 19 of 20


                                              95.

          Defendant-Debtor failed to comply with Georgia’s Medicaid Program

   requirements by failing to refund Medicaid overpayments to the Department.

                                             LOSS

                                              96.

          The Department overpaid false claims submitted by Defendant-Debtor.

                                              97.

          The Department suffered financial loss by overpayment of false claims that were

   submitted by Defendant-Debtor.

                                              98.

          The Department suffered damages in the amount of at least $42,634.37.



          WHEREFORE, the Georgia Department                of Community Health, (“the

   Department”), respectfully prays:

          (1)     That the debt owed by Defendant-Debtor in the total amount of at least

   $42,634.37 be excepted from discharge, as it falls within the purview of 11 U.S.C. §

   523(a)(2);

          (2)     That Defendant-Debtor’s discharge under Chapter 7 as to the debt owed to

   the Department should be denied, pursuant to 11 U.S.C. § 727(b);

          (3)     For entry of a money judgment against Defendant-Debtor in favor of the

   Department in the total amount of at least $42,634.37, plus civil penalties, damages,

   interest, attorney fees and costs, pursuant to O.C.G.A. § 49-4-168.1(c); and




                                               19
Case 18-55697-lrc       Doc 119    Filed 12/17/18 Entered 12/17/18 16:39:47             Desc Main
                                  Document      Page 20 of 20


             (4)    That it be granted such other and further relief as the Court deems just and

   proper.

             This 17th day of December, 2018.


                                                  Respectfully submitted,

                                                  CHRISTOPHER M. CARR                   112505
                                                  Attorney General

                                                  W. WRIGHT BANKS, JR.                 036156
                                                  Deputy Attorney General

                                                  /s/ Julie Adams Jacobs_________________
                                                  JULIE ADAMS JACOBS                003595
                                                  Senior Attorney General

                                                  /s/Whitney Groff______________________
                                                  WHITNEY GROFF                   738079
                                                  Assistant Attorney General




   PLEASE ADDRESS ALL
   COMMUNICATIONS TO:

   WHITNEY GROFF
   Assistant Attorney General
   40 Capitol Square, SW
   Atlanta, Georgia 30334
   (404) 651-6107
   Fax: (404) 657-3239
   wgroff@law.ga.gov




                                                 20
